Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.610 Page 1 of 10




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                        IN THE UNITED STATES DISTRICT COURT
                          STATE OF UTAH, CENTRAL DIVISION


 ESTATE OF PATRICK HARMON SR.;
 PATRICK HARMON II, as Personal
 Representative of the Estate of Patrick Harmon
                                                         Case No. 2:19-cv-00553-HCN-CMR
 Sr., and heir of Patrick Harmon Sr., TASHA
 SMITH, as heir of Patrick Harmon, Sr.,
                                                     REPLY TO MOTION TO RECONSIDER
                                                            ORDER OF REMAND
                Plaintiffs,
                                                         District Judge Howard C. Nielson, Jr.
        vs.
                                                         Magistrate Judge Cecilia M. Romero
 SALT LAKE CITY, a municipality; and
 OFFICER CLINTON FOX, in his individual
 capacity,

                Defendants.


        Defendants Salt Lake City and Officer Clinton Fox respectfully submit this Reply

 Memorandum in support of their Motion to Reconsider Order of Remand, (ECF No. 51).

                                        INTRODUCTION

        Defendants request the Court vacate its order remanding Plaintiffs’ state claims to state

 court. Remand made sense when the order was entered, because this Court had dismissed all of

 Plaintiffs’ federal claims and declined to exercise supplemental jurisdiction over the state claims.
Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.611 Page 2 of 10




 Now, however, the Tenth Circuit has reversed judgment and revived Plaintiffs’ federal claims.

 As it stands, the exact same facts and nearly identical legal issues are set to proceed in two

 different courts, before two different judges, and—ultimately—requiring two different juries.

         Such procedure does not serve the interests of justice or of efficiency. It does not benefit

 the parties, the courts, or the public to litigate the same issues in tandem. It can only result in

 needlessly wasteful duplication for all involved. In fact, the state court recently entered an order

         urg[ing] the parties to explore any and all mechanisms that would reunify all
         (federal and state) claims in the federal court proceeding to avoid parallel
         litigation and multiple trials. 1
 Indeed, this dual proceeding is beneficial to only one stakeholder—Plaintiffs. If allowed to

 proceed in this way, Plaintiffs will get two bites at the apple, including potentially two jury trials

 with the possibility of two different outcomes. Not only would that result be unnecessarily

 wasteful, it would undermine confidence in the judicial system.

         Tenth Circuit precedent makes clear this Court can reconsider its order of remand. And,

 for the reasons stated in the Motion and discussed below, it should do so here.

 I.      THE REQUEST IS TIMELY AND THE COURT HAS AUTHORITY TO
         RECONSIDER ITS ORDER OF REMAND.
         Plaintiffs contend that the time for Defendants to request reconsideration of remand has

 passed because Defendants did not appeal the remand order. 2 (Opp’n at 7.) Plaintiffs

 miscomprehend the effect of the Tenth Circuit’s decision. The Tenth Circuit reversed the district

 1
   Minutes of Telephonic Status Conf., Jan. 10, 2022, attached as Exhibit 1.
 2
   Plaintiffs agree the remand order is not barred from reconsideration by the removal statute. (Opp’n at 7
 (acknowledging “[28 U.S.C.] Section 1367(c)(3) remand orders, like the one here, are subject to appellate
 review”).) See also Carlsbad Tech., Inc. v. HIF Bio, Inc., 556 U.S. 635, 641 (2009) (holding “[w]hen a
 district court remands claims to a state court after declining to exercise supplemental jurisdiction, the
 remand order is not based on a lack of subject-matter jurisdiction for purposes of [28 U.S.C.] §§ 1447(c)
 and (d)” and is thus reviewable).

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Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.612 Page 3 of 10




 court’s order granting dismissal, thereby vacating its final judgment. The United States Supreme

 Court has made clear that “[o]n remand, the [lower court] may consider and decide any matters

 left open by the mandate of this court.” Quern v. Jordan, 440 U.S. 332, 348 n.18 (1979) (citation

 omitted). In other words, “[i]n addressing a remand, the court is barred from addressing its prior

 rulings only if they have ‘been adopted, explicitly or implicitly, by the appellate court’s

 judgment.’” Rocky Mtn. Helium, LLC v. United States, 145 Fed. Cl. 662, 665 (2019) (quoting

 Exxon Corp. v. United States, 931 F.2d 874, 877 (Fed. Cir. 1991)). Here, the Tenth Circuit’s

 mandate did not preclude reconsideration of supplemental jurisdiction over the state claims. To

 the contrary, in reversing dismissal of the federal claims, the Tenth Circuit vacated the district

 court’s basis to decline supplemental jurisdiction.

        Because there is no final judgment in the case before this Court, the remand order is an

 interlocutory order that “may be revised at any time before the entry of a judgment adjudicating

 all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b). “[D]istrict courts

 generally remain free to reconsider their earlier interlocutory orders,” Rimbert v. Eli Lilly & Co.,

 647 F.3d 1247, 1251 (10th Cir. 2011) (citation omitted), and “[t]here are no time constraints

 preventing the court from reconsidering its order,” Fid. & Deposit Co. of Maryland v. Goran,

 LLC, No. 2:17-CV-00604-TC, 2021 WL 4332775, at *1 (D. Utah Sept. 23, 2021). Moreover,

 “[t]he Tenth Circuit has indicated that the decision whether to reconsider an interlocutory ruling

 of this sort is committed to the discretion of the district court.” C.R. Bard, Inc. v. Med.

 Components, Inc., No. 2:17-CV-00754-HCN, 2019 WL 8137358, at *1 (D. Utah July 25, 2019).

 There is thus no time-bar that prohibits the Court from reconsidering its remand order.




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Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.613 Page 4 of 10




        Here, the Court should exercise its discretion to reconsider the remand order given the

 changed circumstances. In ruling on the motion to dismiss, the Court expressly declined to

 exercise supplemental jurisdiction over the state claims because it dismissed the federal claims.

 (Mem. Dec. & Or. at 29, ECF No. 29.) Now that the Tenth Circuit has reversed dismissal of the

 federal claims, the basis underpinning the supplemental jurisdiction ruling and the remand order

 has been vacated. That is the same circumstance that occurred in Baca v. Sklar, 398 F.3d 1210,

 1222, n.4 (10th Cir. 2005). There, the district court granted “summary judgment to the

 defendants on all of [plaintiff’s] federal law claims” and therefore “remanded the remaining state

 law claims to state court.” Id. at n.4. The Tenth Circuit then reversed and remanded a federal

 claim back to the district court and instructed the district court to “reconsider its decision to

 decline supplemental jurisdiction over [plaintiff’s] state law claims.” Id. The Tenth Circuit thus

 recognized not only that the district court could reconsider its decision to remand the state

 claims, but that the district court should reconsider that decision in those circumstances.

        The Tenth Circuit has since reaffirmed this position:

        It is true that when we reverse a district court’s dismissal of a federal law claim,
        we often also direct the district court to reconsider whether to exercise
        supplemental jurisdiction over any state law claims it dismissed along with the
        federal claim.
 Est. of Smart v. City of Wichita, 951 F.3d 1161, 1177 (10th Cir. 2020) (citing Baca, 398 F.3d at

 1222 n.4). In Smart, as here, the Tenth Circuit did not address the issue of supplemental

 jurisdiction itself but recognized the parties “are free to request reconsideration (to the extent the

 rules permit) in subsequent proceedings before the district court.” Id. That is precisely what

 Defendants have done here. See also, Macias v. Sw. Cheese Co., LLC, 624 F. App’x 628, 640

 (10th Cir. 2015) (reviving federal claim and vacating “that portion of the district court’s

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Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.614 Page 5 of 10




 judgment declining supplemental jurisdiction and remanding the state-law claims to state

 court”); Anaya v. Crossroads Managed Care Sys., Inc., 195 F.3d 584, 597–98 (10th Cir. 1999)

 (“The plaintiffs’ state constitutional and common law claims that were dismissed without

 prejudice for failure of supplemental jurisdiction should be REINSTATED.”).

        Plaintiffs also raise a number of additional roadblocks to this Court reconsidering its

 order of remand. Each argument fails. First, Plaintiffs contend that “[a]fter the state court makes

 important merits-based rulings, review of the remand is no longer available, if not before.”

 (Opp’n at 7.) There is no support for Plaintiffs’ purported bright-line rule. As an initial matter,

 the state court has done very little of substance in the state case, as evidenced by the docket and

 the state judge’s request that the federal court unify the claims. For example, the majority of

 briefing and arguments have addressed the impact of the federal appeal on the state claims and

 how to coordinate the two cases. (See also infra Part II.) More to the point, however, federal

 courts frequently exercise jurisdiction over claims even when a state court has already made

 substantive rulings; the federal court simply picks up where the state court left off. See, e.g.,

 Travelers Cas. & Sur. Co. v. Unistar Fin. Serv. Corp., 35 F. App’x 787, 788 (10th Cir. 2002)

 (unpublished) (expressing no concern that federal district court handled removed case even after

 state court had ruled on dispositive motion).

        Second, Plaintiffs assert the Court lacks authority to reconsider its order of remand. But

 in Bacas and subsequent cases, the Tenth Circuit made clear that a district court could reconsider

 a decision to remand, including in the exact circumstances here where the district court declined

 supplemental jurisdiction after dismissing federal claims. Additionally, in fact, the United States

 Supreme Court case Plaintiffs relied upon confirms this very point. (See Opp’n at 8 (quoting


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Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.615 Page 6 of 10




 Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 714 (1996))). In Quackenbush, a federal district

 court remanded a case to state court based on an abstention doctrine. 517 U.S. at 710. The Ninth

 Circuit then reversed the remand order, holding remand was inappropriate in the circumstances,

 and the Supreme Court affirmed on other grounds. Id. at 710–11. The Supreme Court thus

 recognized a federal court can reconsider an issue of remand even after the remand has occurred.

 Id.; see also, Bryan v. BellSouth Commc’ns, Inc., 377 F.3d 424, 428 (4th Cir. 2004) (vacating

 district court’s order remanding state claim to state court).

 II.     NEITHER CASE HAS PROGRESSED AND THE STATE COURT IMPLORED
         THE PARTIES TO UNIFY THE CLAIMS IN FEDERAL COURT.
         Plaintiffs also argue the Court cannot or should not 3 reconsider remand because the “state

 court action has advanced too far for reconsideration.” (Opp’n at 9.) Review of the state court

 docket shows that is not the case. Despite alleging the state court made “important merits-based

 rulings,” Plaintiffs point to only two occurrences: (1) the parties’ initial disclosures; and (2) the

 state court’s denial of a motion to dismiss Plaintiffs’ unnecessary rigor claim. (Id.) As to the first,

 initial disclosures are not “merits-based rulings”—they are not rulings at all but simply the very

 first step in the discovery process. 4 Plaintiffs cannot dispute that no discovery has been taken in

 either case, despite Plaintiffs having been able to take discovery for the past six months.



 3
   It is unclear if Plaintiffs contend the Court cannot reconsider remand or if it should merely decline to do
 so in its discretion. Compare Opp’n at 7 (asserting, without authority, “review of the remand is no longer
 available” after the state court makes “important merits-based rulings” (emphasis added)), with id. at 9
 (indicating there are instead “limits on the district court’s discretion to review remand orders”).
 Regardless, the authority cited above demonstrates the Court has authority to consider remand, and the
 decision whether to do so lies within its discretion.
 4
  In fact, Plaintiffs seem to agree that the initial disclosures the parties exchanged in the state case apply
 equally to the federal case, because the parties have not exchanged separate Rule 26 disclosures but
 nonetheless represented to this Court that “[t]he parties have exchanged the initial disclosures required by
 Rule 26(a)(1).” (Att’y Planning Mtg. Rep. at 2, ECF No. 48.)

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Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.616 Page 7 of 10




        As to the second, the state court’s ruling on one issue of a single claim on a motion to

 dismiss does not foreclose this Court from unifying the state and federal claims. That ruling will

 be binding over the federal case as an interlocutory order, unless and until this Court determines

 there is a basis to revisit the issue. That is no different than any other case. Defendants are aware

 of no case—and Plaintiffs have cited none—holding that a federal court cannot exercise

 jurisdiction over state claims simply because a state court made a prior ruling. See, e.g., Rimbert

 v. Eli Lilly & Co., 647 F.3d 1247, 1252 (10th Cir. 2011) (holding judge can reconsider

 interlocutory order issued by prior judge); Harlow v. Children’s Hosp., 432 F.3d 50, 56 (1st Cir.

 2005) (reconsidering state court’s ruling on personal jurisdiction made prior to removal because

 “federalism does not require more deferential treatment of a state-court interlocutory order in a

 case removed to federal court than it would have required had the order originated in federal

 court”); see also 28 U.S.C. § 1450 (in removed cases, providing that “[a]ll injunctions, orders,

 and other proceedings had in such action prior to its removal shall remain in full force and effect

 until dissolved or modified by the district court”).

        Instead, the question for the Court is one of discretion—whether it serves the interests of

 justice and economy. Indeed, Plaintiffs’ own cited case demonstrates this. Plaintiffs cited New

 Mexico Center on Law & Poverty v. Squier for the proposition that “the state court proceedings

 are to be interfered with once, at most.” 131 F. Supp. 3d 1241, 1244 (D.N.M. 2014). While that

 may generally be good policy, it is not a binding rule, as the cases cited above clearly show. And

 crucially, the very next line explains the true heart of the issue: “This is not only in the interest of

 judicial economy, but out of respect for the state court and in recognition of principles of

 comity.” Id. In other words, Plaintiffs’ own case explains the reasons to avoid overturning


                                                    7
Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.617 Page 8 of 10




 remand are judicial economy, respect for the state court, and comity. But in this case, each one of

 those principles compels the opposite result. This is particularly true where the state court judge

 himself has urged the parties to reunify the claims in this Court. In short, there is no basis to

 deny unifying the claims where the state case has not progressed at all.

 III.   THE COURT SHOULD EXERCISE SUPPLEMENTAL JURISDICTION.

        Plaintiffs do not dispute that the federal and state claims meet the standard for

 supplemental jurisdiction because they “form part of the same case or controversy.” 28 U.S.C.

 § 1367(a). Instead, they rely on subsection 1367(c)(1), asserting their cause of action for

 unnecessary rigor “raises a novel or complex issue of State law.” (Opp’n at 10.) That is not the

 case. Plaintiffs do not suggest that their unnecessary rigor cause of action is anything more than a

 garden-variety claim. The Utah federal district court has had little trouble addressing claims

 under the Unnecessary Rigor Clause in prior cases. See, e.g., Redmond v. Crowther, 882 F.3d

 927, 942 (10th Cir. 2018); Brown v. Larsen, 653 F. App’x 577, 578 (10th Cir. 2016); Porter et

 al. v. Daggett County, Utah, No. 2:18-CV-00389-DBB, 2022 WL 558295, at *14 (D. Utah Feb.

 24, 2022); Scott v. Angerhofer, No. 2:20-CV-14-DAK, 2021 WL 6125836, at *3 (D. Utah Dec.

 27, 2021); McDonald v. Davis Cty., No. 1:20-CV-00136-JNP, 2021 WL 2940604, at *8 (D. Utah

 July 13, 2021); Rodriguez v. Cache Cty. Corp., No. 1:18-CV-00115-DAK, 2021 WL 1791963, at

 *10 (D. Utah May 4, 2021); Asay v. Daggett Cty., No. 2:18-CV-00422-DAK, 2019 WL 181358,

 at *6 (D. Utah Jan. 11, 2019); Crane v. Utah Dep’t of Corr., No. 2:16-CV-01103-DN, 2017 WL

 4326490, at *3 (D. Utah Sept. 28, 2017). There is no reason to believe the Court cannot—as it

 has repeatedly done before—apply the governing legal standards to the facts of this case.




                                                  8
Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.618 Page 9 of 10




 Furthermore, Plaintiffs’ argument is undercut by the exhortation by the state court judge himself

 to have the federal district court decide the state claims.

                                           CONCLUSION

        This Court can and should exercise its discretion to reconsider the order of remand now

 that the Tenth Circuit has revived the federal claims. Plaintiffs have provided no reason why

 their claims should proceed in two different venues and, ultimately, before two different juries.

 Exercising supplemental jurisdiction over the state claims serves the interests of justice in

 resulting a single, final outcome, and promotes economy for the federal court, the state court, the

 parties, and the public.

        DATED: March 2, 2022.                           SALT LAKE CITY CORPORATION



                                                        /s/ Katherine R. Nichols
                                                        KATHERINE R. NICHOLS

                                                        Attorney for Defendants Salt Lake City and
                                                        Officer Clinton Fox




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Case 2:19-cv-00553-HCN-CMR Document 57 Filed 03/02/22 PageID.619 Page 10 of 10




                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 2, 2022, a true and correct copy of the foregoing was

  electronically filed with the Clerk of the Court, which sent notice to:

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